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          18                            CENTRAL DISTRICT OF CALIFORNIA
          19                                        SOUTHERN DIVISION
          20        MASIMO CORPORATION, a                      CASE NO. 8:20-cv-00048-JVS (JDEx)
                    Delaware corporation; and CERCACOR
          21        LABORATORIES, INC., a Delaware             MEMORANDUM OF POINTS AND
                    corporation,                               AUTHORITIES IN SUPPORT OF
          22                                                   DEFENDANT APPLE INC.’S
                                      Plaintiffs,              MOTION TO DISMISS PORTIONS
          23                                                   OF THE THIRTEENTH CAUSE OF
                          v.                                   ACTION IN PLAINTIFFS’ FOURTH
          24                                                   AMENDED COMPLAINT
                    APPLE INC., a California corporation,
          25                                          Hearing:
                                      Defendants.     Date:    April 19, 2021
          26                                          Time:    1:30 p.m.
                                                      Place:   Courtroom 10C
          27                                          Judge:   Hon. James V. Selna
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            1    Compl. ¶¶ 230–32.5 Third, Plaintiffs’ single new “inducement” allegation does not
            2    “nudge[]” Plaintiffs theory “across the line from conceivable to plausible.” Twombly,
            3    550 U.S. at 570.
            4          The only new factual allegations arguably “entitled to the assumption of truth”
            5    Iqbal, 556 U.S. at 680—only the second of which could possibly speak to inducement—
            6    are that (1) Tim Cook has publicly stated that he sees healthcare as central to Apple’s
            7    future, Fourth Am. Compl. ¶ 230, and (2) although O’Reilly “viewed Masimo as his
            8    family, Apple had offered him so much money that he simply could not refuse,” id.
            9    ¶ 232.6 At most, if accepted as true, these allegations suggest that Apple offered to pay
          10     O’Reilly more than Plaintiffs were paying him to fill a position related to Apple’s
          11     purported strategic objectives. Such a practice does not plausibly suggest improper
          12     behavior because it is “not only compatible with, but indeed . . . more likely explained
          13     by [the] lawful” employment practice of providing financial incentives to hire executives
          14     in a competitive employment market. Iqbal, 556 U.S. at 680 (citing Twombly, 550 U.S.
          15     at 567); see also Eclectic Properties E., LLC v. Marcus & Millichap Co., 751 F.3d 990,
          16     996 (9th Cir. 2014) (“[P]laintiffs cannot offer allegations that are merely consistent with
          17     their favored explanation but are also consistent with the alternative explanation.
          18     Something more is needed.”). Using financial incentives to recruit executives to lead
          19     strategic objectives is not a basis for alleging Apple induced trade secret
          20     misappropriation.    If the result were otherwise, hiring employees away would
          21     necessarily give rise to an employer’s inducement of misappropriation. This is wrong
          22     both as a matter of law, Iqbal, 556 U.S. at 680, and of “California public policy strongly
          23
          24      5
                    Although Plaintiffs now allege that Lamego worked on “                             ” at
          25     Apple (Fourth Am. Compl. ¶ 231), this Court already reject                           iffs’
                 nearly identical allegation that Lamego worked on “technologies” for Apple that “he
          26     worked on at Plaintiffs” (TAC ¶ 24). ECF 264 at 14 n.7 (citing TAC ¶¶ 19–24, 229).
                 6
                   Alleging that Apple “provided substantial financial incentives” to “entic[e]” others to
          27     “help Apple in its strategic objective in healthcare,” Fourth Am. Compl. ¶ 232, without
                 more detail is conclusory, see ECF 264 at 14 (citing Menzel v. Scholastic, Inc., 2018 WL
          28     1400386, at *2 (N.D. Cal. Mar. 19, 2018)), and insufficient to raise a “plausible
                 suggestion” of induced misappropriation. Twombly, 550 U.S. at 566.
                                                             15
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            1    “failed . . . to set forth a short and plain statement of her claims, despite repeated attempts
            2    by the Court to educate her on the process”); Kilgore v. Dir., 2016 WL 8678365, at *2
            3    (E.D. Cal. Feb. 26, 2016) (undue prejudice where amendment would cause “a
            4    considerable delay of . . . proceedings”).
            5          The aforementioned portions of Plaintiffs’ trade secret claim should be dismissed
            6    without leave to amend.
            7                                        IV. CONCLUSION
            8          Apple respectfully requests that the Court dismiss with prejudice the above-
            9    referenced portions of Plaintiffs’ Thirteenth Cause of Action for trade secret
          10     misappropriation.
          11     Dated: February 26, 2021
          12                                              Respectfully submitted,
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